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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

IN RE:                                         Case No. 8:19-bk-02538-RCT
Anthony Anibal Aleman and                      Chapter 7
Maria Luz Rosario

       Debtors.                            /

               MOTION FOR RELIEF FROM THE AUTOMATIC STAY
            RE: 12709 ENGLISH HILLS COURT, UNIT D, TAMPA, FL 33617

                               NOTICE OF OPPORTUNITY
                             TO OBJECT AND FOR HEARING


       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within
twenty-one (21) days from the date set forth on the attached proof of service, plus an
additional three days for service if any party was served by U.S. Mail.

        If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue,
Suite 555, Tampa, FL 33602, and serve a copy on the movant's attorney, Lindsey
Savastano, c/o Shapiro, Fishman & Gaché, 2424 North Federal Highway, Suite 360, Boca
Raton, Florida 33431, and any other appropriate person's within the time allowed. If you
file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing, or consider the response and grant or deny the relief requested
without a hearing.

       If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.


       Comes now Nationstar Mortgage LLC d/b/a Mr. Cooper, by and through its undersigned

attorneys, moves the Court for an Order Granting Relief from the Automatic Stay pursuant to 11

USC 362(d)(1) and 11 USC 362(d)(2)(A) and in support thereof would show:

       1.     This is a motion pursuant to Bankruptcy Rule 4001(a) for Relief from the

automatic stay provisions of Section 362(a) of the Bankruptcy Code.


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       2.      Nationstar Mortgage LLC d/b/a Mr. Cooper, is a secured creditor by virtue of a

promissory note, mortgage, and assignment of mortgage(s) which is attached to this motion as

Exhibit “A” on real property. Said real property has the following legal description: Unit No.

D, Building 12709, Building Type C, Of Raintree Oaks, A Condominium, According To The

Declaration Of Condominium Thereof, Recorded In O.R. Book 17772, Page 952, And All

Exhibits And Amendments Thereof, And Recorded In Condominium Plat Book 23, Page 180,

Public Records Of Hillsborough County, Florida; Together With An Undivided Share In The

Common Elements Appurtenant Thereto. The common address is: 12709 English Hills Court,

Unit D, Tampa, FL 33617.

       3.      Debtor(s) filed this case on March 22, 2019.

       4.      The above referenced real property has been claimed by the Debtor(s) as Non-

Homestead and has not been abandoned by the Trustee.

       5.      The approximate value of debt due is $98,553.40.

       6.      The Hillsborough County Property Appraiser's website for the subject real

property reflects a market value of $49,684.00, Exhibit “B”

       7.      The payments due pursuant to the aforementioned note and mortgage have been

in default, and remain in default since November 1, 2018.

       8.      That the Debtor failed to adequately protect the interest of the secured creditor.

       9.      That Nationstar Mortgage LLC d/b/a Mr. Cooper, is prohibited from proceeding

with foreclosure in the State Court because of the pendency of this bankruptcy action, and that in

the absence of the Court's Order allowing the secured creditor to proceed with the foreclosure

action the security will be significantly jeopardized.




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       10.     Nationstar Mortgage, LLC d/b/a Mr. Cooper also seeks relief to consider the

Debtor for any short sale or deed in lieu of foreclosure as alternatives to proceeding with a

judicial foreclosure action.

       11.     Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, and itemized statements of running accounts,

contracts, judgments, mortgages, and security agreements in support of right to seek a lift of the

automatic stay and foreclose if necessary.

       12.     Pursuant to M.D. Fla. L.B.R. 9004-2(f) the estimated time required for hearing is

five (5) minutes.

       Wherefore, the Nationstar Mortgage LLC d/b/a Mr. Cooper, moves this Honorable Court

for an Order granting relief from the automatic stay.

                                             /s/Steven G. Powrozek
                                             Steven G. Powrozek
                                             FL Bar # 0316120
                                             Shapiro, Fishman & Gaché, LLP
                                             Attorney for Secured Creditor
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion for Relief from the

Automatic Stay has been sent to the following on this 5th day of April 2019.


Anthony Anibal Aleman, 6041 Gibson Ave., Tampa, FL 33617

Maria Luz Rosario, 6041 Gibson Ave., Tampa, FL 33617

Alan D Borden, 901 West Hillsborough Avenue, Tampa, FL 33603

Christine L. Herendeen, Post Office Box 152348, Tampa, FL 33684

United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602

                                             /s/Steven G. Powrozek
                                             Steven G. Powrozek
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                                             Shapiro, Fishman & Gaché, LLP
                                             Attorney for Secured Creditor
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